                                                                                                              BL9677781


                             IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF OHIO, AKRON DIVISION
IN RE:                                           :        Chapter: 7
LOWERY D LOCKARD                                 :
                                                 :
                                                 :
                                                 :        BANKRUPTCY NO: 20-51751




                  REQUEST OF CREDITOR PURSUANT TO BANKRUPTCY RULE 2002(g)
                               PROVIDING ADDRESS FOR SERVICE
                                        OF NOTICES

To the Clerk:

 1. This request is filed pursuant to Bankruptcy Rule 2002(g) for the purpose of ensuring that the creditor

listed below receives all notices required to be mailed under Bankruptcy Rule 2002 at the address below.

 2. The address to which all such notices should be sent and substituted for that of the creditor:


                                         American Express National Bank
                                         c/o Becket & Lee LLP
                                         PO Box 3001
                                         Malvern, PA 19355-0701




                                             By: /s/ Shraddha Bharatia
                                                 Shraddha Bharatia, Claims Administrator
                                                 Becket & Lee LLP
                                                 POB 3001
                                                 Malvern, PA 19355-0701



                                                 Date:    09/24/2020




     20-51751-amk        Doc 7      FILED 09/24/20         ENTERED 09/24/20 14:36:57                 Page 1 of 1
